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                        UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF WEST VIRGINIA
                                AT CHARLESTON



UNITED STATES OF AMERICA


v.                                     CRIMINAL ACTION NO. 2:22-00154


ANDRE DEWAYNE WILLIAMSON,
Also known as A3



                                  O R D E R


           Defendant’s counsel has filed on June 24, 2024, a

Letter to Clerk requesting issuance of the two attached

subpoenas, on June 27, 2024, a Supplemental Letter to Clerk,

requesting issuance of the two attached subpoenas, and on July

1, 2024, a Second Supplemental Letter to Clerk, requesting

issuance of the two attached subpoenas.            It is hereby ORDERED

that the attached subpoenas filed on June 24, 2024, June 27,

2024, and July 1, 2024, be filed under seal until the further

order of the court.



           Inasmuch as the Second Supplemental Letter with

attached subpoenas corrects the previous requested subpoenas, it
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is ORDERED that the Clerk issue only the two subpoenas attached

to the Second Supplemental Letter filed on July 1, 2024.




           The Clerk is directed to forward copies of this order

to all counsel of record.


                                    DATED:   July 2, 2024
